             1:19-cv-01114-CSB # 1             Page 1 of 12                                                            E-FILED
                                                                                 Wednesday, 03 April, 2019 10:58:06 AM
                                                                                         Clerk, U.S. District Court, ILCD
                            'mniteb         ~tati~s          11listtict Qtourt
                                     CENTRAL DISTRICT OF ILLINOIS


                                                     )
                                                     )
                            Plaintiff                )
                                                     )
                   vs.                               )                     Case N o . - - - - -


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              .
Tm/1~o Callw, Cialluplullu~
                                                      )
                                                      )
                                                      )
                                                                (The case number will be assigned by the clerk)


                                                      )
                                                      )
                                                         )
                                                         )
                                                         )
                                                         )
                                                         )
                             Defendant(s)                )

(List the fall name ofALL plaintiffe and defendants in the caption above.          Ifyoii   need more room, attach a
separate caption page in the above format).

                                                   COMPLAINT'

Indicate below the federal legal basis for your complaint, iflaiown. 'This form is designed primarily for prose
prisoners challenging the constitutionality oftheir conditions ofconfinement, claims which are often brought
under-42 U.S,C.·§ 1983 (against state,..county, or municipal defendants)-or-in a-"Bivens" aation (against federal ........ ·
defendants). However, 42U.S.C.§1983 and "Bivens" donotcoverallprlsoners'claims. Many prisoners '
legal claims arise from other federal laws. Your particular claim may be based on different or additional
]ces offederal law. You may adapt this form to your claim or draft your own complaint.

     42 U.S.C. §1983 (state, county or municipal defendants)

CJ   Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)(federal defendants)

CJ   Other federal law:




                                          I. FEDERAL JUIUSDICTION


       *Please refer to the instructions when filling out this complaint. Prisoners are not required to
       use this form or to answer all the questions on this form in order to file a complaint. 'This is not
       the form to file a habeas corpits petition.
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       h1rjsdjctjnp is.based on 2B Tl s c § 1311 I a ci11i1 ectionarising umler the I biliea StetH CoJl&~GIHMCli>f:F-======s==
other federal law. (You may assert a different jurisdictional basis, ifappropriate).

                                                  II. PARTIES

A. Plaintiff:              A/
          Full Name:  _.fk~h~M..._C.,,_,i" "'~. ,j.,_ ,n_. .c/<. . . . __ _ _ _ _ _ _ _ _ __
          Prison Identification Number: _.....t11                   . . . 2_ij
                                                               .....J     . . __5__Q___________
          Current address: pa ,BDK qt/                                        &n.J!ac,, Ii

For additional plaintiffe, provide the information in the same fonnat as above on a separate page. Ifthere is
more than one plaintiff, each plaintiffmust sign the Complaint, and each plaintiffis responsible for paying his
or her own complete, separate filing fee.

 B. Defendants

    Defendant # 1:

           Full Name:    :Jd V0etY!i?tO•'GireJOCY
                                 0
           Current Job Title:        Of   re cft60o. l riff, Cqf
           Current Work Address        eo Oox qq          Po(lt;4f .'IL      hi 7&¥
    Defendant #2:

           Full Name:      f fl~l.(l &yo.a
           current Job Title:        CorC'~Cd-1000,/ Q££cu
           Current Work Address           eo.aoz 91           Pofldfao Jl
                                                                       I
                                                                              /)Jllf

    Defendant #3:

            Full Name:     G11tl/ll.f, JOoa.i.h~a
            Current Job Title:            Cocf~cJrooo/ Of.£co:c
                                                          2
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                  Defendant #4:

                              Full Name:      Te r; A. ktt1r1 l/y
                              Current Job Title:       Cbi~f 4JmMt5·lradrVi                at.he t£
                              currentWorkAddress               f.0.Bor qq fanJiac,)L {;(7(/{

                      Defendant #5:

                              Full Name:      ;Jerde.
                                               ..     Cu/kw
                              Current Job Title:          Rtj16.f t&o.J A{fLC? r.
                              Current Work Address             P, at Box   qq     Pon-1./qc IL.
                                                                                             l
                                                                                                 I    IJ 7tl/
_ _ _ __,lfr.:.uor-addilional-defendants;.-provide-the-inforrnation-in-the-sr.zmefonnat as above on a separate page.


                                                                  Ill. LITJGATION HISTORY

         ~   '" . -      .•   The.. ~'thr.ee.strikes-.nlle'~   bars a prisoner.fr.om bringing.a.civil action or appeal-in {Orma pauperis,in   ,_ - •
               federal court ifthat prisoner has "on 3 or more occasions, while incarcerated or detained in anyfacility, brought
               an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
                malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
               danger ofserious physical injury." 28 U.S.C. § J9/5(g).

               A. Have you brought any other lawsuits in state or federal court dealing with the same facts involved

               in this case?                  Yes O
                                                                       No'
               If yes, please describe - - - - - - - - - - - - - - - - - - - - - -



               B. Have you brought any other lawsuits in federal court while incarcerated?

               Yes      rJ               Noc


               C. If your answer to B is yes, how many?                 5        Describe the lawsuit(s) below.

                 De,lttlMt 1r.Ufw.nte, Ecc1$3$1Vr., Fora, f41!t1rt 1o Pro-teer
            1:19-cv-01114-CSB # 1                   Page 4 of 12




                                                         . .o~.'cr1 o.1.-/~l1:_ _. ;b,._; ~.l. .1. :0-+-@~, e~7/+.:.-Ji~~;...i..t----11_'~;.._~__;Ot30=§
                                                         A
     _Na_m_cn_rc_as_c_co_urt-an_dn_oc_k-etN-n-mb-cr........              .......

  2. Basic claim made            gCC,12$ !Vl          forc.i
  3. Disposition (That is, how did the case end? Was the case dismissed? Was it appealed? Is it still

pending?)     St rll pMl~hJ
For additional cases, provide the above information in the same formal on a separate page.



                           IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

          Prisoners must exhaust available administrative remedies beforefiling an action infederal court about
prison conditions. 42 U.S.C. § 1997e(a). You are not required to allege or pruve exhaustion ofadministrative
remedies in the complaint. However, yo11r case must be dismissed if the defendants show that you have not
exhausted your administrative remedies, or iflack ofexhaustion is clearfrom the complaint and its attachments.
You may attach copies of materials relating to exhaustion, such as grievances, appeals, and official responses.
These materials are not required to file a complaint, but they may assist lhe court in understandingYour claim,
                                                                                           /
A. Is there a grievance procedure available at your institution? Yes                      &      No     CJ

B. Have you filed a grievance concerning the facts relating to this complaint?

            Yes     J     No C

If your answer is no, explain why not - - - - - - - - - - - - - - - - - - -


C. ls the grievance process completed?             Yes . '         No     CJ




                                 ~            V. STATEMENT OF CLAIM

Place(s) of the occurrence       ~Ntac ~[trl[ftg/ Ctnte c/kiloc!laf/J #e,o. ilh
                                                                  4
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III.     List ALL lawsuits you (and your co-plaintiffs, if any) ha\'e filed in any state or federal
         court in the United States:

         A.     Name of case and docket number:      £h1c JCk Ado j             C    v.   Q.ff" ~ ( {).rt
                ~JIJ /tcJ~
         B.     Approximate date of filing lawsuit: .....l. .f. _ ____- .15
                                                                - ;ij    . . __________

         c.     List all plaintiffs (if you had co~plaintiffs), including any aliases:    e~+c 1°c K Ad01r



         D.     List an defendants:   lip+ ii a     $ ,t\,;     «'c 11 nJ   I   I   L'r b 'I Aa+ 2 '·•£
                  1homo:s


         E.     Court in which the lawsuit was filed (if federal court, name the district; if state court,
                namethecounty): ll rdq,r Cn1.1I B,Jh-f Ai-t,, Stci+e ,. /fau-1 HmD(,s ft;r+,, C.ooY.. Col/My

         F.     Name ofjudge to whom case was assigned:         M.gcv1 {) f.. J.ppeo

         G.     Basic claim made:     De I,he r~ +e I ndi .ffe.re.oce

         H.     Disposition of this case {for example: Was the case dismissed? Was it appealed?
                Is it still pending?): Sf, r F Pe!i1 ~ D1 :1'.fn155



         I.                                      _l_-.._/7
                Approximate date of disposition: ....    ...._
                                                             - . _/7;__ _ _ _ _ _ __ __

IF YOU HA VE FILED MORE THAN ONE LAWSUIT, THEN \'OU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CAS~ YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO so MAy RESULT IN DISMISSAL OF YOUR CASE. co~
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.




                                                   •                                           R~ind 912007
       1:19-cv-01114-CSB # 1                          Page 6 of 12
            (If you need addlllonal space for ANY section. please auach an additional sheet and reference that section ]




III.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
       court in the United States:

       A.          Nameofcaseanddocketnumber:                         PClir~ck A J~ 1t'            V.   Ot~i c ~r !art V1.-r+ (},aler
                        c,
                       !iC w~Mbc r - }5 CV 10599
                                                                                                                                       1




       B.          Approximate date of filing lawsuit: ~/_/_-_J_J_- /_~,___        . . . _________
       c.           List all plaintiffs (if you had co-plaintiffs), including any aliases:                    fa-1-c;ck      AJC\,'

       D.           Listalldefendants:           Tom
                                                  I          I
                                                                 /}Mt , Of./-;uc (nplrr
                                                                        f




       E.           Court in which the lawsuit was filed (iffederal court, name the district; if state court,
                    namethecounty): ~C~r~ U ~r.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       F.          Name ofjudge to whom case was assigned:                        Mar v' n           r. 45e£0  I




       G.           Basic claim made:           Dt/,hC0+e J:.nd ,ffectn+

       H.           Disposition of this case (for example: Was the case dismissed? Was it appealed?
                    Is it still pending?): - - .er::frftcr /)1$mt!1'2
                                                    '


       I.           Approximate date of disposition:              --'-/_-_ 7_ .__._/_
                                                                               . 7.____________
IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.




                                                                  •                                                   Revised 912007




            [If you need additional space for ANY section. please aUach an additional sheet and reference that section ]
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III.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
       court in the United States:

       A.     Name of case and docket number.:        AJn1(     V.   ,5_p1c'     J7l /   R2C
       B.     Approximate date of filing lawsuit: _.../Jll-"-'q~Y--"'J
                                                                     0....
                                                                   ........lb.._________
       c.     List aJl plaintiffs (if you had co-plaintiffs), including any aliases:   R1<1-ock AJO(fc



       D.     List all defendants:   -~'"""'+-p.....t c. . .e.,. .---------------

       E.     Court in which the la~ui1 was filed (iffederal court, name the district; if state court,
              name the county): bJe eel C,1d

       F.     Name ofjudge to whom case was assigned:         /darV1ll £ &spt-o
       G.     Basic claim made:      k Ce.s;;1Ve fore, f

       H.     Disposition of this case (for ep;:le: Was the case dismissed? Was it appealed?
              Is it still pending?): ~           m I f.Sc J



       I.     Approximate date of disposition:        Dc i M t~ Ji be.hr
IFYOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.




                                                  I                                         Revised 912007




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I      .•




              IV.        List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
                         court (including the Central and Southern Districts of IIJinois):

                         A.     Name of case and docker number:                          Ad QIC    V. ko.c2f1S'l, /7c O'l£?.f
                         B.    Approximate date of filing lawsuit:    _A1. .@....,.V-d~O.-l
                                                                            .              . .J
                                                                                              . _________
                         C.    Lisr all plaintiffs (if you had co-plaintiffs), including any aliases: £10J AJer-




                     D.                                 k. .9. .C-2,,...ftn~>
                               List all defendants: ......      .           . .k
                                                                               .. . .
                                                                                  1 _ _ _ _ _ _ _ _ _ _ _ _ __




                    E.        Court_in which the lawsuit 'JiaS fileld (if federal court, name the district; if state
                              court, name the county): ---.h....;;.e=Ju-~"'......
                                                                            - _.C"""lil"'''--'
                                                                                          l -----------

                    F.        Narne pf judge to whom case was assigned:                           /YlpQ(tfl (,   Asou1
                                                                                                                   l

                    G.        Basic claim made:        be J, be.cCl\+e Io J, f.feco ce

                    H.        Disposition of this case                                   Was the case dismissed? Was it appealed?
                              Is it still pending?):



                    I.        Approximate date of disposition: _ _                      Uotl_~t.___,rfe_f_,?J"'-+---------

            IF YOU HAVE FILED MORE THAN ONE LA"VSUIT, THEN YOU l\tIUST DESCRIBE
            THE ADDITIONAL LA"VSUITS ON ANOTHER PIECE OF PAPER, USING TIDS SANIB
            FOR.!vIAT. REGARDLESS OF HOW iVIANY CASES YOU HAVE PREVIOUSLY FILED,
            YOU ·wILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
            AND FAILURE TO DO SO l\tIAY RESULT IN DISl'vllSSAL OF YOUR CASE. CO·
            PLAINTIFFS l\IIUST ALSO LIST ALL CASES THEY HAVE FILED.
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Date(sJ of the occurrence   SepfraYJlq,c         1s-r J 'JO/$
Stale here briefly the FACTS that support your ewe. De3cribe what each defendant did to violate your federal
rights. You do nol need lo give any legal argument.r or cite cases or statutes. Number each claim in a separate
paragraph. Unrelated claims should be raised in a separate civil action.

THE COURT URGES YOU TO USE ONLY THE SPACE PROVIDED. Federal Rule ofCivil Procedure 8(a)
requires only a "short and plain statement" ofyour claim showing that you are entitled to relief. It is best to
include only the basic, relevant facts, including dates, places, and name.r.




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.J.htto   q    wuk.
---------------.....-----------                                                                --   ..   .




                                       RELIEF REQUESTED
                             (State what relief you want from the court.)




                                                  7
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JURY DEMAND         Yes   ci('.       No     D

   Signed this   _Q_~--      day of        ftb&iy!flfA fth,20M,
                                                                     1btrt ~
                                                              ( Signature of Plaintiff)




                                                 Irunate Identification Number.




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